              Case 2:18-cr-00246-RSL Document 64 Filed 03/25/21 Page 1 of 2




 1                                                             The Honorable Robert S. Lasnik
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 6
 7                      UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF WASHINGTON
 8
                                    AT SEATTLE
 9
10
      UNITED STATES OF AMERICA,                           NO. CR18-0246RSL
11
                            Plaintiff,
                                                          ORDER DISMISSING ACTION
12
                       v.                                 WITHOUT PREJUDICE
13
      ANTONIO P. SMITH,
14
                            Defendant.
15
16
17         THE COURT, having reviewed the prior competency and restoration reports
18 submitted in this matter, concludes that Smith is incompetent to stand trial and that he is
19 unlikely to be restored to competency in the future.
20         In light of these circumstances, the Court dismisses the action without prejudice.
21
22
            DATED this 25th day of March, 2021.
23
24
25
26
                                         A
                                         HON. ROBERT S. LASNIK
                                         United States District Court Judge
27
28
     ORDER DISMISSING ACTION/SMITH - 1                                    UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, STE. 5220
                                                                           SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
             Case 2:18-cr-00246-RSL Document 64 Filed 03/25/21 Page 2 of 2




1 Presented by:
2
     TESSA M. GORMAN
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     Acting United States Attorney
4
5 /s/ Thomas Woods
  THOMAS M. WOODS
6
  Assisted United States Attorney
7
 8 /s Thomas W. Hillier
   THOMAS W. HILLIER
 9
   CAROLYN S. GILBERT
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     ORDER DISMISSING ACTION/SMITH - 2                         UNITED STATES ATTORNEY
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